                          Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 1 of 6
AO 245B       (Rev. 09/) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                  JUDICIAL DISTRICT OF PUERTO RICO
                                                  )
             UNITED STATES OF AMERICA             )    JUDGMENT IN A CRIMINAL CASE
                        v.                        )
                                                  )
              STEVEN MICHAEL RODRIGUEZ                 Case Number: 3:13-CR-0866-001 (DRD)
                                                  )
                                                  )    USM Number: 44515-069
                                                  )
                                                  )     Jose F. Irizarry-Perez, Esq.
                                                                                     Defendant’s Attorney
THE DEFENDANT:
✔
G pleaded guilty to count(s)          Nine (9) and Ten (10) of the Indictment.

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                           Offense Ended              Count

18 U.S.C. §2113(a)                Bank Robbery                                                               12/05/2013                 9
18 U.S.C. § 924(c)(1)(A)          Possession of a Firearm in Furtherance of a Crime of Violence.             12/05/2013                 10




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
✔Count(s)
G               remaining                                G   is   ✔
                                                                  G are    dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                           September 16, 2015
                                                                          Date of Imposition of Judgment


                                                                          S/     Daniel R. Dominguez
                                                                          Signature of Judge



                                                                          Daniel R. Dominguez                          Senior, U.S. District Judge
                                                                          Name and Title of Judge


                                                                            September, 2015
                                                                          Date
                          Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 2 of 6
AO 245B     (Rev. 09/) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                      Judgment — Page     2       of   6
DEFENDANT: STEVEN MICHAEL RODRIGUEZ
CASE NUMBER: 3:13-CR-0866-001 (DRD)


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 SIX (6) MONTHS, AS TO COUNT NINE AND SIXTY (60) MONTHS AS TO COUNT TEN, TO BE SERVED
 CONSECUTIVELY, FOR A TOTAL TERM OF 66 MONTHS. DEFENDANT SHALL RECEIVE CREDIT FOR TIME SERVED.



    ✔
    G     The court makes the following recommendations to the Bureau of Prisons:
 -The Court recommends that defendant be designated to any institution in Florida.
 - The defendant shall be afforded the maximum drug treatment (500) hours.
 - The defendant shall be afforded with education (ESL / GED) and vocational treatment.


    ✔
    G     The defendant is remanded to the custody of the United States Marshal.

    G     The defendant shall surrender to the United States Marshal for this district:

          G   at                                     G   a.m.    G   p.m.        on                                           .

          G   as notified by the United States Marshal.

    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G   before 2 p.m. on                                              .

          G   as notified by the United States Marshal.

          G   as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                           Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 3 of 6
AO 245B      (Rev. 09) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                           Judgment—Page      3     of         6
                       STEVEN MICHAEL RODRIGUEZ
DEFENDANT:
CASE NUMBER: 3:13-CR-0866-001 (DRD)
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS AS TO COUNT 9 AND FIVE (5) YEARS AS TO COUNT 10, ALL TERMS TO BE SERVED
 CONCURRENTLY WITH EACH OTHER.
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

✔
G      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

✔
G      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)


G      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
                       Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 4 of 6
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                              Judgment—Page 3A       of   5
DEFENDANT: STEVEN MICHAEL RODRIGUEZ
CASE NUMBER: 3:13-CR-0866-001 (DRD)

                                        SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall not commit another Federal, state, or local crime, and shall observe the standard conditions of
 supervised release recommended by the United States Sentencing Commission and adopted by this Court.

 2. The defendant shall not unlawfully possess controlled substances.

 3. The defendant shall refrain from possessing firearms, destructive devices, and other dangerous weapons.

 4. The defendant shall refrain from the unlawful use of controlled substances and submit to a drug test within fifteen (15)
 days of release; thereafter, submit to random drug testing, not to exceed 104 samples per year in accordance with the
 Drug Aftercare Program Policy of the U.S. Probation Office approved by this Court. If any such samples detect substance
 abuse, she shall participate in a drug treatment program (in-patient or out-patient) in accordance with such policy. She is
 required to contribute to the cost of services rendered (co-payment) based on the ability to pay or availability of third party
 payments, as approved by the Court.

 5. The defendant shall provide the U.S. Probation Officer access to any financial information upon request.

 6. The defendant shall participate in transitional support services under the guidance and supervision of the U.S. Probation
 Officer. The defendant shall remain in the services until satisfactorily discharged by the service provider and/or with the
 approval of the U.S. Probation Officer.

 7. The defendant shall submit to a search of her person, property, house, residence, vehicles, papers, computer, other
 electronic communication or data storage devices or media, and effects (as defined in Title 18, Section 1030(e)(1), to
 search at any time, with our without a warrant, by the probation officer, and if necessary, with the assistance of any other
 law enforcement officer (in the lawful discharge of the supervision functions of the probation officer) with reasonable
 suspicion concerning unlawful conduct or a violation of a condition of probation or supervised release. The probation
 officer may seize any electronic device which will be subject to further forensic investigation/analyses. Failure to submit to
 such a search and seizure may be grounds for revocation. The defendant shall warn any other residents or occupants that
 their premises may be subject to search pursuant to this condition. In consideration of the Supreme Court’s ruling in Riley
 v. California, the court will order that any search of the defendant’s phone by probation, while the defendant is on
 supervised release, be performed only if there is reasonable articulable suspicion that a specific phone owned or used by
 the defendant contains evidence of a crime or violation of release conditions, was used in furtherance of a crime, or was
 specifically used during the actual commission of a crime.

 8. The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer, pursuant to
 the Revised DNA Collection Requirements, and Title 18, U.S. Code Section 3563(a)(9).

 9. The defendant shall participate in vocational training and/or job placement program recommended by the U.S. Probation
 Officer.

 10. The defendant shall perform 300 hours of unpaid community service work during the probation period at a private
 non-profit or public facility to be selected and under such arrangements as the Probation Officer of the court may
 determine.


 Having considered Mr. Rodriguez financial condition, a fine is not imposed.

 A special monetary assessment in the amount of $100 per count is imposed, however, as required by law.
                        Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 5 of 6

AO 245%   (Rev. 09/) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                                          Judgment — Page      4     of       6
DEFENDANT: STEVEN MICHAEL RODRIGUEZ
CASE NUMBER: 3:13-CR-0866-001 (DRD)
                                                  CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                             Fine                                Restitution
TOTALS            $ 200.00                                                                 $ 0.00                             $ 0.00


G    The determination of restitution is deferred until                               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                     Total Loss*                                           Restitution Ordered                 Priority or Percentage




TOTALS                                                                         0.00
                                    $         $                        0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G   the interest requirement is waived for the                      G       fine       G       restitution.

      G   the interest requirement for the               G       fine          G      restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                          Case 3:13-cr-00866-PAD Document 63 Filed 09/16/15 Page 6 of 6
AO 245B     (Rev. 09/) Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments
                                                                                                                    Judgment — Page          5   of   6
DEFENDANT: STEVEN MICHAEL RODRIGUEZ
CASE NUMBER: 3:13-CR-0866-001 (DRD)

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ✔
      G     Lump sum payment of $          200.00                  due immediately, balance due

            G     not later than                                       , or
            ✔
            G     in accordance           G    C,      G   D,    ✔
                                                                 G       E, or     G    F below; or

B     G     Payment to begin immediately (may be combined with                   G C,         G D, or       G F below); or
C     G     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     ✔
      G     Payment during the term of supervised release will commence within    30 days       (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

G     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
